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                 IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF HAWAII


UNITED STATES OF AMERICA,     )                CR 17-00555 DKW-08
                              )
          Plaintiff,          )
                              )                ORDER ADOPTING FINDINGS
     vs.                      )                AND RECOMMENDATION TO
                              )                DENY MOTION FOR
DORE OISHI,                   )                COMPASSIONATE RELEASE
                              )
          Defendant.          )
_____________________________ )

   ORDER ADOPTING FINDINGS AND RECOMMENDATION TO DENY
            MOTION FOR COMPASSIONATE RELEASE

      Findings and Recommendation having been filed and served on all parties

on May 08, 2020, and no objections having been filed by any party,

      IT IS HEREBY ORDERED AND ADJUDGED that, pursuant to Title 28,

United States Code, Section 636(b)(1)(B) and Local Rule 74.1, the "Findings and

Recommendation to Deny Motion for Compassionate Release", ECF No. 470 are

adopted as the opinion and order of this Court.

      IT IS SO ORDERED.

      DATED: May 26, 2020 at Honolulu, Hawai’i.




                                  /s/ Derrick K. Watson
                                  Derrick K. Watson
                                  United States District Judge
